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 5   Attorneys for Plaintiff Luminence, LLC,
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 8                           UNITED STATES DISTRICT COURT
 9                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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11
      LUMINENCE, LLC,
12
                                                        CASE NO: 19-cv-0157-JAH-MDD
                           Plaintiff,                   DECLARATION IN SUPPORT OF
13
                                                        REQUEST FOR CERTIFICATE OF
                                                        DEFAULT
14           vs.
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      ULTRAMAILERS, INC.; CM
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      ENTERPRISES, INC.; THEOD
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      SIMONIAN, an individual;
18
      and HAIK ABDUNURYAN, an
19
      individual,
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                           Defendants.
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22
          DECLARATION IN SUPPORT OF REQUEST FOR CERTIFICATE OF
23
                                             DEFAULT
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           Matthew Capron hereby declares as follows:
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           1. I am the attorney for Plaintiff in this action.
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           2. This action was commenced pursuant to 17 U.S.C. §§ 106(1), 501, and 1202,
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     and 815 I.L.C.S. § 510 et seq.
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                    DECLARATION IN SUPPORT OF REQUEST FOR CERTIFICATE OF DEFAULT
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           3. The time for all Defendants to answer or otherwise move with respect to the
 2
     complaint herein has expired.
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           4. Defendants have not answered or otherwise moved with respect to the
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     complaint, and the time for Defendants to answer or otherwise move has not been
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     extended.
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           5. Defendants are not infants or incompetent. Defendants are not currently in the
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     military service of the United States as appears from facts in this litigation.
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           6. Defendants are liable to Plaintiff for statutory damages for their willful
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     infringement of Plaintiff's copyrighted work.
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           WHEREFORE, Plaintiff, LUMINENCE LLC, requests that the default of all
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     Defendants be noted and a certificate of default issued.
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           I declare under penalty of perjury that the foregoing is true and accurate to the
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     best of my knowledge, information and belief, that the amount claimed is justly due to
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     Plaintiff, and that no part thereof has been paid.
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16   Dated: April 19, 2019                           Respectfully submitted,
                                                     CAPRON LAW OFFICES
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18                                                   By: s/Matthew Capron
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                                                     MATTHEW CAPRON

20                                                   Attorneys for Luminence, LLC
21                                                   email: mcapron@capronlegal.com
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                   DECLARATION IN SUPPORT OF REQUEST FOR CERTIFICATE OF DEFAULT
